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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

  Case No. 2:24−cv−05279−MWF−MAR                        Date       February 14, 2025

  Title         AGUSTIN JAIME V. GLC DISTRIBUTION, LLC, ET AL.




 PRESENT: THE HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE
                  Rita Sanchez                                 Not Reported;
                Courtroom Deputy                               Court Reporter

      Attorney(s) Present for Plaintiff(s):        Attorney(s) Present for Defendant(s):
                None Present                                   None Present


 PROCEEDINGS (IN CHAMBERS): COURT ORDER


         In light of the Notice of Settlement filed 2/12/2025 (Mediation Report), the Court
   sets a hearing on Order To Show Cause Re Dismissal for March 31, 2025 at 11:30 AM.
   If a stipulated dismissal is filed prior to this date, the matter will be taken off calendar
   and no appearance is needed. All other hearings and deadlines are hereby vacated.

          IT IS SO ORDERED.




                                                                      Initials of Clerk: rs




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